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IN THE UNITED sTATES DIsTRIcT coURT '
FoR THE wEsTERN DIsTRIcT oF TENNESSEE g§;mw j v
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BAMRUNG P. CHUMPIA,
Plaintiff,
vs. No. 04-2786-Ml/P

UNITED STATES OF AMERICA, et al.

Defendants.

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ORDER DENYING MOTION FOR RECONSIDERATION
AND
ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 455

 

Plaintiff Bamrung P. Chumpia, a resident of Memphis,
filed a pro §§ complaint on September 29, 2004. The Court issued an
order on February 28, 2005 that, inter §lia, granted leave to
proceed in §Q£ma pauperis and dismissed the complaint, in its
entirety, pursuant to Fed. R. Civ. P. B(a)(l) and lO(b) and 28
U.S.C. §§ lQlB(e)(Z)(B)(ii) & (iii). Judgment Was entered on March
l, 2005. On March 14, 2005, Plaintiff filed a document, entitled
“Pro Se Motion for aa New Trial or Rehearing and Complaint of
Judicial Misconduct and Disqualification of the Judge” (“Pl.'s
03/14/05 Mot.”), Which the Court construes as a timely motion for

reconsideration pursuant to Fed. R. Civ. P. 59(e).l

 

1 Any complaint of judicial misconduct is not properly submitted in

conjunction with a substantive motion in this case, as the motion is
automatically'handled by the judge assigned to this case, who is also the subject
of the misconduct complaint. Moreover, 28 U.S.C. § 372, which Plaintiff cites as

(continued...)

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With respect to the motion for reconsideration, a party
should be afforded relief from a judgment pursuant to Fed. R. Civ.
P. 59(e) only under limited circumstances:

[R]econsideration of a judgment after its entry is an
extraordinary remedy which should be used sparingly.
There are four basic grounds upon which a Rule 59(e)
motion may be granted. First, the movant may demonstrate
that the motion is necessary to correct manifest errors
of law or fact upon which the judgment is based. Second,
the motion may be granted so that the moving party may
present newly discovered or previously unavailable
evidence. Third, the motion will be granted if necessary
to prevent manifest injustice. .. . Fourth, a Rule 59(e)
motion. may' be justified` by an intervening change in
controlling law.

The Rule 59(e) motion may not be used to relitigate

old matters, or present evidence that could have been
raised.prior to the entry of judgment. Also, amendment of
the judgment will be denied if it would serve no useful
purpose.
ll Charles Alan Wright et al., Federal Practice and Procedure §
2810.1 (2d ed. l995) (footnotes omitted); see Nagalingan1v. Wilson,
Sowards, Bowling & Costanzo, No. 00-5453, 2001 WL 493392, at *2
(6th Cir. May 1, 2001). The arguments raised by Plaintiff do not
fit within this framework.

Plaintiff first refers to holding a party in contempt of
court, Pl.'s 03/14/05 Mot. at l, however, the Court's previous
orders did, not mention. the issue of contempt. Plaintiff also
asserts that it is improper for the Court to dismiss his complaint

on the basis of authorities that he did not cite in his papers. Id.

at 2. The Court, however, is bound by the applicable law when

 

1 (. . .continued)
applicable to claims of judicial misconduct, concerns the mental and physical
disabilities of judges and has no bearing on this case.

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resolving legal issues, and its analysis is not limited to the
authorities cited in Plaintiff’s submissions. Plaintiff also
objects to the certification, pursuant to Fed. R. App. P. 24(a),
that any appeal in this matter would not be taken in good faith
and, therefore, he may not proceed in fg£ma pauperis on appeal.
Pl.’s 03/14/05 Mot. at 3. Plaintiff asserts that, “[i]n doing
anything bad faith, there must be ill will motive including
insulting the court without respect.” id; However, an appeal is not
taken in good faith, within the meaning of Fed. R. App. P. 24(a),
if the issues presented are frivolous. See Callihan v. Schneider,
178 F.3d 800, 804 (6th Cir. 1999). In this case, the Plaintiff's
various filings were neither disrespectful nor motivated by ill
will toward this Court. The action was, however,` lacking in
substantive merit, and it was dismissed on that basis.

The Plaintiff contends that this action is not barred by
res judicata or collateral estoppel because of unspecified unusual
circumstances or unusual error of the courts hearing Plaintiff‘s
previous cases. Pl.’s 03/14/05 Mot. at 5. This argument was
rejected in the February 28, 2005 order. 02/28/05 Order at 8 n.5.
Moreover, nothing in the Plaintiff’s motion provides any basis for
reconsidering the decision that Plaintiff's claims against the
various judges who have heard his other lawsuits are barred by
absolute judicial immunity. ldg at lO. Although the Plaintiff
complains about the treatment he is receiving in the Shelby County
Chancery Court, this Court cannot interfere in a case pending in

state court or review a final decision by a state court. Id. at 11.

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Finally, the Plaintiff contends that he is entitled to
relief against the United States Department of Education pursuant
to 20 U.S.C. § 1082(a)(6). Pl.'s 3/14/05 Mot. at 5. This Court,
however, has no authority to direct the Secretary of Education to
enter into any settlement of Plaintiff’s student loan debt.

Accordingly, the Court DENIES the motion for
reconsideration.

The Plaintiff also seeks the disqualification of the
judge in this case. “The legal standard [for recusal] requires the
facts to be such as would ‘convince a reasonable man that a bias
exists.’” United States v. Story, 716 F.2d 1088, 1090 (6th Cir.
1983) (citing Berger v. United States, 255 U.S. 22, 33 (1921)).
According to the Sixth Circuit:

To warrant recusal under § 144, an affidavit must

“allege[] facts which a reasonable person would believe
would indicate a judge has a personal bias against the
moving party.” General Aviation, Inc. v. Cessna Aircraft
Co., 915 F.2d 1038, 1043 (6th Cir. 1990). The alleged
facts, moreover, must relate to “extrajudicial conduct
rather than . . . judicial conduct.” United States v.
Story, 716 F.2d 1088, 1091 (6th Cir. 1983) (internal
quotation marks omitted). In other words, the affidavit
must allege facts showing “a personal bias as
distinguished from a judicial one, arising out of the
judge’s background. and. association and. not from the
judge's view of the law.” Id. at 1090 (internal quotation
marks omitted).

Ullmo ex rel. Ullmo v. Gilmour Academy, 273 F.3d 671, 681 (6th Cir.

2001) (citations omitted). The same principle is applicable to

recusal motions pursuant to 28 U.S.C. § 455(a). Liteky v. United

States, 510 U.S. 540 (1994).

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In this case, the only basis for the Plaintiff's motion
is his disagreement with the Court's dismissal order. That
circumstance does not present anyl basis for disqualification.
Moreover, the motion is untimely, having been filed two weeks after
the entry of judgment.

The motion for disqualification is DENIED.

IT IS SO ORDERED this ll day of May, 2005.

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JON PHIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

 

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Bamrung P. Chumpia
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Honorable J on McCalla
US DISTRICT COURT

